[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON MOTION FOR ARTICULATION
The Court regrets the typographical areas. As to paragraph (1) of the motion for articulation. The court did mean on page 8 to refer to paragraph 13(e) not 13(d).
As to paragraph 3 the reference to CWC was incorrect and SCASCO was the intended reference.
As to paragraph 2, I think a request to revise would be or could have been appropriate because at this juncture paragraphs 13a, b and d really do not set forth different causes of action. In that sense the situation is not like that in Oink Inc. v. AnnSt. Limited, 12 Conn. L. Rptr. 547, 548 (1994). There separate statutory violations were alleged in the various subparagraphs.
CORRADINO, J. CT Page 9238